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                    EXHIBIT A
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1             A.        Yes.
2             Q.        I assume speaking in groups would include
3         speaking publicly to a group?
4             A.        Yes.
5             Q.        As well as a group discussion?
6             A.        Right.
7             Q.        I just want to understand the triggers.
8         With that, are you able to do those things if you
9         take your Ativan or no?
10            A.        Mostly, I'm able to.
11            Q.        Mostly able to?
12            A.        Yes.
13            Q.        When you say mostly able to, meaning
14        what?
15            A.        Meaning the situation is so intense that
16        sometimes medication alone won't do it.
17            Q.        Okay.
18                      So sometimes you say, I just -- simply,
19        that is something I can't do?
20            A.        Right.
21            Q.        How about, just so I understand what your
22        restrictions are, I guess.             If I said, Hey, I've
23        got a hundred physicians, I want you to come out
24        and give a presentation to, for an hour, is that
25        something you could do?


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1             A.        If I was comfortable with the topic and
2         if the audience was civil and respectful of my
3         presentation, yes.          But if they're going to be
4         heckling me and yelling and screaming, then
5         probably not.
6             Q.        How about if I said that we're going to
7         sit down and we're all going to talk about -- I've
8         got ten physicians and we're all talking about our
9         careers, and I want you to come in and we're all
10        going to talk about the pluses and minuses of
11        being a doctor, could you do that?
12            A.        I would not enjoy it, but I probably
13        could make it through.
14            Q.        Okay.
15                      How about if something happened -- this,
16        obviously, is a physician, no different than a
17        lawyer.       Sometimes we want everything to work
18        great, but sometimes an issue could come up with a
19        patient or something like that.
20                      How about if we said, Hey, Dr. O'Donnell,
21        we want you to come in.            We've got the parents of
22        the child, we've got their attorney, we've got our
23        attorneys, and we're all going to talk about what
24        you did and what you didn't do.               In that meeting,
25        they're going to ask you questions.


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1         put the dates of your fellowship.                   I saw it
2         started, can we say July 1, 2010?
3             A.        That's reasonable.
4             Q.        Although you didn't have a second
5         contract, I take it that your -- you went on a
6         leave of absence, and I'm not saying that you
7         asked for it, but you went on a leave of absence
8         from July 1, 2012, right?
9             A.        That's correct.
10            Q.        And then you eventually resigned.                 I want
11        to put that in so we have it for the record.
12                                 -     -   -   -     -
13                         (Thereupon, Deposition Exhibit 3,
14                         December 16, 2012 Resignation
15                         Letter, was marked for purposes of
16                         identification.)
17                                 -     -   -   -     -
18            Q.        You eventually -- if we look at Exhibit
19        3, you eventually resigned on December 16, 2012,
20        right?
21            A.        Correct.
22            Q.        So if we put the time frames of the UH
23        fellowship, we're talking July 1, 2010 through
24        December 16, 2012, right?
25            A.        That's correct.


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1         testimony was, when we were talking about
2         paragraph 2, that when she says, in the last one
3         to two years it became more intense, you said
4         there was some work issues.
5             A.        Not so much work issues.           But being a
6         physician is a stressful job, and being
7         unmedicated just became a lot for me.                  So that's
8         why I decided to go back on the medication.
9             Q.        Did you -- I guess, without the
10        medications, did you have restrictions?                  Were you
11        not able to give speeches?             Or what were you able
12        to do or not do?
13            A.        Well, that job didn't require me to give
14        speeches.
15            Q.        Okay.
16                      But was there anything that you couldn't
17        -- was there anything, without the medication,
18        that you couldn't do?           Would you, for example, not
19        be able to talk in a group setting?
20            A.        No.     But once again, that wasn't required
21        of me.     But I wouldn't have been able to do it if
22        they had asked me to.
23            Q.        Okay.
24                      So let's look at her third paragraph, and
25        it goes through a little bit of the -- some of


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1         apply for accommodations?
2             A.        Yes.
3             Q.        And then the accommodations were denied
4         and you were placed on leave?
5             A.        Yes.
6             Q.        Is Dr. Rosenberg's summary a good summary
7         of, I guess, at least, the disability-related
8         issues at UH?
9             A.        I'd say it's a very bare-bones summary.
10        There's a lot more to it.
11            Q.        Okay.   And we'll get into it.
12                      And, I guess, when I look at it, I guess
13        I would say, it looks to me as if -- is the
14        accomodation, you ultimately asked for, through
15        your physician or, otherwise -- I'll read.                    It
16        says, "She told them that she had an anxiety
17        disorder and requested they ask her questions to
18        test her knowledge and allow her to do a
19        presentation rather than speaking up."
20                      Did I read that right?
21            A.        Yes.
22            Q.        Is that what you were asking to do?
23            A.        I did ask for that, but that wasn't my
24        formal accomodation request.
25            Q.        What was it?


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1             A.        Prior to that I had asked them for this.
2             Q.        Okay.
3                       What was your formal accomodation
4         request, if you recall?
5             A.        Not to grade me -- from what I recall.
6         I'm sure there's more to it than I'm remembering.
7         But from what I recall, it was not to grade me for
8         my impromptu speech during the departmental
9         conferences, and to not grade me down for being
10        quiet.
11                      And then, I believe, it was offered that
12        I could do other things to prove my knowledge and
13        participate in other ways within the conference.
14            Q.        Who?    You offered or they offered?
15            A.        I offered.
16            Q.        You offered.      Okay.
17                      Now, the fourth paragraph says that you
18        have a long history of generalized anxiety
19        disorder and panic disorder; is that true?
20            A.        That's her diagnosis.          I'm not sure.
21            Q.        You're not sure?
22            A.        Yes.
23            Q.        So she's diagnosed you with generalized
24        anxiety disorder and panic disorder?
25            A.        Yes.    I definitely have the generalized


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1         anxiety.       I'm not sure about the panic disorder.
2         However, she's the professional.
3             Q.        And she says it's a long history of them
4         both.     She told you that not only do you have
5         those two diagnoses, but she believes you've had
6         them for a long time?
7             A.        She has told me that.
8             Q.        Has she told you what she means by panic
9         disorder?
10            A.        That I can have -- my anxiety can get so
11        severe that it can present as a panic attack.
12            Q.        Okay.
13                      What's an SSRI?
14            A.        Selective serotonin reuptake inhibitor,
15        which is class of medications like Zoloft and some
16        of the other medications commonly prescribed for
17        anxiety.
18            Q.        Okay.
19                      And it says you've done better with the
20        change to your new job in an urgent care center.
21        And, I guess, let me just ask you, since leaving
22        UH, December 2012.          Let's go through, you've been
23        at Akron Children's for how long?
24            A.        Since April 1 of this year.
25            Q.        And before that?


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1              A.       Immediately after I was placed on leave,
2         I signed up with a locum tenens, a temporary
3         agency, and they placed me with a company called
4         ONE Health Ohio, who hired me on that following
5         spring.       And I stayed there until February 10 of
6         this year.
7              Q.       Of 2017?
8              A.       That's correct.
9              Q.       Okay.
10                      And did they only have you at ONE Health
11        Ohio or where were you at?
12             A.       That was the only place I was at.
13             Q.       So I take it that she's saying the change
14        in new job had improved.             Were you having problems
15        at ONE Health Ohio?
16             A.       No.     It just was a very poorly-run
17        company and I was overloaded with work.
18             Q.       And, I guess, my question is:             Was it
19        causing the anxiety or was it just simply you
20        didn't like the job?
21             A.       I would say, mostly, I just didn't like
22        the job.
23             Q.       Okay.
24                      So let me ask you then -- I've seen
25        Dr. Rosenberg -- and I think I understand, but


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1              A.       They don't have those at Akron
2         Children's.
3              Q.       Okay.
4                       So Akron Children's, it's physicians who
5         are caring for the patients?
6              A.       That's correct.
7              Q.       And do you have any work restrictions at
8         Akron Children's?
9              A.       No.
10             Q.       So you don't have any type of -- there's
11        nothing that comes up that you have to say, Hey, I
12        don't want to deal with that?
13             A.       Well, I did inform them of my disability
14        at the time of my employment and they've
15        accommodated me without me having to make any
16        specific requests.
17             Q.       And, I guess, did you do that in writing
18        or orally?
19             A.       Both.
20             Q.       Both.    Okay.
21                      So tell me, in general, if I'm hiring you
22        to come in as a physician and I'm your supervisor,
23        tell me what you're going to tell me about your
24        disability and restrictions?
25             A.       I'd say that I have generalized anxiety


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1         disorder.       It's a chronic condition.             It affects
2         several of my major life functions.                 Some of the
3         most common functions that it affects are my
4         speech, my ability to concentrate, and sometimes
5         think and communicate.
6                       My symptoms are sometimes triggered by
7         certain activities, such as speaking in large
8         groups, meeting new people, or disagreeing with
9         somebody, tend to be my major triggers.                   I can get
10        some physical symptoms from those.                 I'm currently
11        on medication that helps mitigate these symptoms,
12        but in certain situations, my anxiety can get
13        difficult.
14             Q.       Okay.
15                      Now, if I'm your supervisor, I guess, the
16        first thing I'm going to say is, Well, sometimes
17        with children, you could have some parents who are
18        very interested in their care, needless to say,
19        right?
20             A.       Yes.
21             Q.       Sometimes you could have a parent that is
22        a lawyer or somebody who is just argumentative who
23        might come in and say, Why are you doing that or
24        why don't you do something else, right?
25             A.       Yes.


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1              Q.       What are you going to do if you have --
2         or what have you done if you have a situation
3         where you're caring for my child, I come in and I
4         say, Well, Dr. O'Donnell, we've been to three
5         physicians, I'm so upset about this.                  I can't
6         believe you're not going to give him this
7         medication?
8                       I mean, what do you do when a parent
9         starts getting argumentative with you?
10             A.       Generally, one-on-one, I'm okay.               With
11        patients and parents, I really haven't had that
12        same kind of issue.           I've generally been able to
13        diffuse the situation, calm them down, and most of
14        the time get them on my -- at least agree with the
15        plan.
16             Q.       How about if your supervisor called in
17        and said, Hey, we have a problem and I've got some
18        of your coworkers here and we all want to talk
19        about some problems.
20                      Are you going to be able to deal with
21        that situation?
22             A.       I've never really had that situation,
23        besides the fellowship.
24             Q.       Are you able to -- I see from these that
25        sometimes if somebody is raising -- I guess, if


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1         somebody says, Hey, I don't think you performed
2         well or I disagree with you, does that cause
3         anxiety?
4               A.      It can, to a degree.          Sometimes.
5               Q.      Okay.
6                       And, I guess, what do you do -- do you
7         say I'm just not going to participate in that or
8         what would happen?
9               A.      No, I would do my best to participate.
10              Q.      Okay.
11                      So today at Akron Children's, you don't
12        think you have any restrictions?
13              A.      No.
14              Q.      You haven't had any issues that have come
15        up?
16              A.      No.
17              Q.      Now, let's talk about -- and, I guess,
18        with benefits, $230,000 salary, your benefits are
19        what?      Medical and 401K?
20              A.      Medical, dental.        I'm sure there's a
21        retirement plan there, but I'm not sure exactly.
22              Q.      Is the insurance through you or your
23        husband?
24              A.      Both.    I'm insured -- me and my son are
25        under mine.         And Akron Children's requires my


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1         husband to carry his own, and he's secondary on
2         ours.
3              Q.       So that's Akron Children's.             So you
4         advise them of your disability, but you don't have
5         any work restrictions and it's never come up?
6              A.       Correct.
7              Q.       So let me talk about your employment at,
8         I'm just going to call it Ohio Health, okay?
9              A.       Okay.
10             Q.       So Ohio Health from February -- well,
11        actually, it was from 2012, right?
12             A.       Um-hum.
13             Q.       Through 2017?
14             A.       Well, technically.         I worked there, but I
15        wasn't their employee in 2012.
16             Q.       I get it.     I know.      I'm just calling it
17        Ohio Health.
18             A.       Sure.
19             Q.       You were assigned there by a temporary
20        agency?
21             A.       Yes.
22             Q.       What were you doing for Ohio Health?
23             A.       I was acting as a general pediatrician.
24        I just saw children in the office as an outpatient
25        only.


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1              Q.       Okay.
2                       And where was your location?
3              A.       Initially, they had me moving to several
4         locations within their organization.                  I was in
5         Warren, Youngstown, and Alliance.                But eventually
6         I was just in Warren.
7              Q.       And, I guess, with that, as to what was
8         your rate of pay when you left?
9              A.       When I left, I can't remember exactly,
10        but I want to say it was approximately 165,000.
11             Q.       How about when you started?
12             A.       It was significantly less than that, but
13        I can't remember exactly.
14             Q.       Over 100,000?
15             A.       Yes.
16             Q.       Did you have benefits?
17             A.       Yes.
18             Q.       And did you have problems at Ohio Health?
19             A.       Not directly.       Towards the end, the
20        company was making some decisions, which I felt
21        was unethical for the patients, so that was one of
22        the things that prompted me to leave.
23             Q.       Like what, just in general?
24             A.       They had some old vaccines that they
25        wanted to give to the patients and were


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1         misconstruing them as the new and updated version.
2         And would tell the parents that the child was
3         getting the new vaccine, but would really be
4         getting an old one.
5              Q.       Okay.
6                       And then as to Ohio Health, did you have
7         any restrictions while you were there?
8              A.       Not for my anxiety, no.
9              Q.       And did you have any problems with your
10        anxiety at Ohio Health?
11             A.       I did have anxiety symptoms, but I was
12        able to function at my job.
13             Q.       When you say anxiety symptoms, meaning
14        what?
15             A.       I would sometimes stumble over my words,
16        have difficulty getting out what I wanted to say,
17        sweating, tremoring, shortness of breath, nausea.
18             Q.       So you worked there, then, for five
19        years.      You didn't need any accommodations.
20             A.       Right.
21             Q.       Okay.
22                      So, I guess, just on this, at the
23        beginning, I know that you certainly have read
24        some of the law because you're telling me about
25        your major life activities and all that kind of


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1              Q.       I mean, I might like to argue with them
2         about it and say you're crazy, but nobody is going
3         to really enjoy that, right?
4              A.       Right.
5              Q.       And then if you do get into a difficult
6         situation, again, nobody is going to enjoy that,
7         right?
8              A.       That's correct.
9              Q.       And, I guess, if I look at it, today
10        you're what, 32?
11             A.       No, I'm 39.
12             Q.       39.    Okay.    So, really, for 29 years, you
13        went through life without any medications, right?
14             A.       Yes, but I was definitely impaired
15        without it.
16             Q.       But at those points in time, you weren't
17        seeing a psychiatrist, right?
18             A.       That's correct.
19             Q.       You weren't seeing counselling every day,
20        right?
21             A.       That's correct.
22             Q.       Did you have any care for your first 29
23        years as to any of these issues?
24             A.       Yes.     I mean, I will preface this by
25        saying, my parents, even though they're doctors,


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1         to get actual treatment, I take it, was when you
2         were in the residency program?
3               A.      It was.
4               Q.      So you had gone through high school,
5         undergrad, and medical school, right?
6               A.      Yes.
7               Q.      And you were able to get through all of
8         those and presumably excel.              You went to residency
9         at Cleveland Clinic, right?
10              A.      That's correct.
11              Q.      I assume to match there wasn't easy,
12        right?
13              A.      I don't know.
14              Q.      You don't know.        Okay.
15                      You don't think that was a good match or
16        no?
17              A.      I was very happy with the match, but I
18        honestly can't tell you whether or not --
19              Q.      What medical school did you go to?
20              A.      I went to Case Western.
21              Q.      So you went to Case Western.             And so for
22        29 years you get through with no medication.                     Then
23        you get to the residency.             And I'm assuming the
24        residency, at that time, there were times that you
25        had to answer questions or speak up in group


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1              Q.       Okay.
2                       Did you have any accommodations or
3         restrictions during the residency program?
4              A.       No official accommodations, but my
5         attendings recognized that I had some form of
6         anxiety going on, and they accommodated me for it.
7              Q.       How so?
8              A.       They recognized that -- they were the
9         ones who suggested I go get evaluated because of
10        my symptoms.          And they would recognize when I was
11        starting to have anxiety issues and would offer me
12        breaks, if necessary.
13             Q.       Meaning what -- I guess, with the
14        attending, just so I understand the residency.
15        Were there times when they would have you give
16        treatment to a patient?
17             A.       Oh, no.     I was able to always perform my
18        clinical duties.          Like, for instance, if I was
19        presenting something, and they saw that, maybe, I
20        was getting a bit too anxious, they would say,
21        Take a breath, relax, and then try again.
22             Q.       I'm just trying to understand the
23        residency program.          Is there times when they would
24        watch you or be with you when you gave treatment?
25             A.       Generally, no.


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1         Cleveland Clinic residency, you were prescribed
2         the medication?
3              A.       Yes.
4              Q.       And so let me ask you as to that.               Was
5         there -- did you ever get any documented
6         performance issues during the residency program?
7              A.       Not that I remember.
8              Q.       Any oral issues about, Hey, these are
9         problems and we need to be able to fix them?
10             A.       Well, all residents get that.             I mean,
11        that's part of the residency.               They point out the
12        mistakes that you're making and you're expected to
13        correct them.
14             Q.       Well, how about as to these issues, about
15        being able to speak in groups or answer questions
16        or give discussions in front of a group?
17             A.       I don't remember.
18             Q.       Did those come up?         You don't remember.
19             A.       No.
20             Q.       If you were to, I guess -- if we were to
21        get that file or look to anybody, you don't
22        remember if there was any, like, performance plans
23        or anything that was of a disciplinary nature?
24             A.       I don't believe so.
25             Q.       You don't believe so.


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1              A.       Um-hum.
2              Q.       Was that every year or just year one?
3              A.       Every year.      I wouldn't even say classes.
4         It's more like we have our divisional conference.
5         I can't even remember exactly, I want to say maybe
6         twice a month or once a month, we had a fellows
7         only session, with one attending, where we would
8         go over some things with a textbook.
9              Q.       Okay.
10                      Did you have group meetings once a week?
11             A.       The divisional conference was the group
12        meeting.
13             Q.       Okay.
14             A.       But that was the entire department.
15             Q.       What is the Wednesday conference?
16             A.       That's the departmental conference, where
17        the entire department, the attendings, fellows,
18        nurses, other people within the department meet
19        together and, in theory, discuss patients and go
20        over educational topics.
21             Q.       How long is that departmental meeting?
22             A.       I can't remember.         It was more than an
23        hour but I don't remember how long.
24             Q.       So everybody comes in, and is there an
25        agenda, or do they just start going through


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1              Q.       Had to do it to the residents, at times?
2              A.       At times, yes.
3              Q.       And you had to do it on the Wednesday
4         meetings, in the departmental meetings, to talk
5         about what you're doing and ask questions of
6         others?
7              A.       The departmental meetings were a little
8         bit different but yeah.
9              Q.       Where was it that you said that you were
10        quiet?      Was it the departmental meetings?
11             A.       It was the departmental meetings.
12             Q.       Okay.
13                      And so I take it, the departmental
14        meetings, how many people were in the department?
15             A.       It kind of depends on who planned on
16        showing up that week.            But it could be up to -- I
17        don't know exactly.           But I'm going to guess,
18        maybe, 20, 30 people.
19             Q.       20 or 30.     And the fellows are just six
20        of those 20 or 30?
21             A.       That's correct.
22             Q.       But I'm assuming a fair amount of it is
23        these departmental meetings are to get the fellows
24        to be trained and to be part of the department?
25             A.       I say that's one of the reasons.               I don't


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1         the record.        It says, "Even when they are not
2         presenting, fellows are expected to contribute as
3         active participants in the discussions."
4                       I read that right?
5              A.       You did.
6              Q.       What do you agree or disagree with?
7              A.       I disagree that that was ever part of the
8         requirements of the program.              In fact, I think
9         this was put in here after I voiced my concerns
10        about participating due to my anxiety, and that
11        was put in after the fact.
12             Q.       Well, let me ask you about that.               Because
13        I think -- I believe at the beginning of this
14        deposition, you told me that one of the, I guess,
15        performance issues, at least in their view, that
16        the physicians who were part of the program raised
17        with you was that you were being too quiet during
18        these sessions, right?
19             A.       Correct.
20             Q.       So I guess I would say, if you're in
21        these sessions, and when you're not presenting,
22        you're being quiet.           And then your evaluators are
23        saying, Dr. Matthews, you're being too quiet, we
24        need you to speak up.            That would seem, to me, to
25        support the fact that they did, at least in their


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1         view, believe that you needed to speak up and talk
2         during it, right?
3                       MR. BEAN:     Objection.       You can answer.
4              A.       I wouldn't say that I needed to.               I'm
5         sure they would have liked me to, but that wasn't
6         an essential function of my job at that point.
7              Q.       Okay.
8                       Well, I guess I would say, you didn't
9         believe it, but you were even asking them to take
10        that away, right?          You told them, Don't grade me
11        on being quiet, right?
12             A.       Yes.    Because it wasn't an essential job
13        function.
14             Q.       Well, I guess I would say, you understand
15        that there are parts of it, when you go through a
16        fellowship program, some of your fellows may think
17        they're the greatest pediatric endocrinologist
18        that ever walked the earth, but they have to get
19        through and meet the standards that are presented
20        by those physicians, right?
21             A.       To a degree.       There are some things that
22        probably rub certain physicians the wrong way that
23        they're doing, but it's not a deal-breaker for the
24        program.       And this is one of those things.
25             Q.       Well, I guess I would say this, I might


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1              Q.       Well, you know that they graded you on
2         it, right?
3              A.       I know that, yes.
4              Q.       You know that they said that you were
5         being too quiet, right?
6              A.       Yes.
7              Q.       So you know that they believed, at least,
8         that being quiet and not raising issues was not
9         satisfactory, right?
10             A.       I don't know if they believed that or if
11        that was just another way that they chose to -- or
12        an easy target for them.
13             Q.       Well, let me ask you, there were six
14        fellows.       Were any of the other six completely
15        quiet if they weren't presenting?
16             A.       Yes.
17             Q.       All the time?
18             A.       Much of the time.
19             Q.       Much of the time.
20             A.       In fact, some of them didn't even show up
21        to the conference.
22             Q.       Okay.
23                      Well, I guess I would say, when they were
24        there, did others just sit there and just say, I'm
25        not going to speak?


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1         when you asked for the accommodations.                  And you
2         made a formal request.            I'm going to show it to
3         you --
4              A.       Yes.
5              Q.       -- just before this.          And as part of that
6         formal request, you had to go get some medical
7         documents, right?
8              A.       Um-hum.
9              Q.       It wasn't any accomodation you asked for.
10        You had to show it was medically necessary, right?
11             A.       That's correct.
12             Q.       And they then did their investigation and
13        said, What are the essential functions of this
14        job?      Would you expect them to do that?
15             A.       Well, yes.      I don't expect them to create
16        essential functions of the job.                I think they
17        should look at the document that they already had.
18             Q.       Well, certainly, you would expect, if
19        they were going to, in good faith, review
20        Dr. Matthews' request for accomodation, or anybody
21        else, that they would look into what are truly the
22        essential functions, right?
23             A.       I would assume they already know those.
24             Q.       Well, I guess I would say, yeah, I might
25        already know those, but I might need to put down


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1         your research be more unique to you and not pick
2         up somebody else's research, right?
3              A.       Correct.
4              Q.       So you were trying to say, I want more of
5         this, right?          So what else, if we look at this,
6         would you say --
7              A.       Same thing, Page 335, it's just more of,
8         this was not formalized when I was there.
9              Q.       Okay.
10                      Well, if we looked at this, what
11        expectations do you believe, if we look at A, B,
12        C, D, we go through all the expectations, which
13        ones -- and I'm just going to ask you, let's just
14        assume for this, I'm not asking you to concede
15        these are the essential functions.
16                      But let's just say that you and I are
17        sitting down in 2012, and I said, Dr. Matthews,
18        this is what I believe are the functions of the
19        fellowship program.           What do you need to be
20        accommodated in?          Why don't you go through and
21        tell me which of these things you needed
22        accommodations, and what type of accommodations.
23             A.       I would say that for the departmental
24        conference --
25             Q.       Section E?


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1              A.       E, yes.     That I definitely can attend.              I
2         can contribute through formal presentations, but
3         there needs to be some accomodation for my
4         spontaneous contributions during other times of
5         the program.
6              Q.       How about, can you respond to spontaneous
7         questions?
8              A.       Yes.   And I asked for that, actually.
9              Q.       So you could give a statement.              I thought
10        you said that these were somehow hostile or
11        somehow --
12             A.       Oh, yes, they were very hostile.               But
13        that was still better than -- let me back up.
14        What would happen during these conferences was
15        they would start off somewhat organized, and
16        towards the end, all the attendings would just be
17        yelling and screaming, sometimes cussing at each
18        other.
19                      For some reason, they wanted me to speak
20        up in the middle of this and try to contribute,
21        and I just could not do that.               That would have
22        made my anxiety way too bad.              So I asked them,
23        since I can't do this, if you want to know what I
24        know, ask me a direct question.                And Dr. Uli
25        refused to do it.          He said, I just needed to learn


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1              Q.       Well, complete the attached
2         authorization --
3              A.       Yes, which I did.
4              Q.       Okay.
5                       Have your health care provider complete
6         the attached health care --
7              A.       Yes, which she did.
8              Q.       Obviously, they're saying, We trust what
9         you're saying, but we need to see what your
10        physician is saying.
11             A.       Yes.
12             Q.       So you don't have a problem with that,
13        right?
14             A.       No.
15             Q.       So let's see.       So the answers are -- and
16        did you agree with what your physician said here?
17             A.       I would say so, yes.
18             Q.       So let's go through.
19                      "Does the employee have a disability that
20        substantially limits one or more major life
21        activities?"          And your physician answered yes,
22        right?
23             A.       Correct.
24             Q.       And what are they?         Social phobia and
25        difficulties in unknown social situations; is that


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1         this, you had to do certain things and you
2         expected UH to do certain things, as well, right?
3              A.       I don't know what their responsibility
4         would have been.          But, yes, I was doing certain
5         things.
6              Q.       Well, I guess I would say, you would
7         expect that UH, if you're HR, you spoke with Julie
8         Chester, right?
9              A.       I did.
10             Q.       And you expect Julie Chester is going to
11        say, Well, what are the essential functions of the
12        fellow program, Dr. Uli, right?
13             A.       I don't know what her job would have
14        been.     I just know that I was applying for
15        accommodations at that point.
16             Q.       You had no idea what UH should have been
17        doing or anything like that?
18             A.       No.
19             Q.       Then as we get to the end, it says, "The
20        employee is actively seeking help for her
21        symptoms, and is very motivated in her treatment.
22        She has made some progress already."
23                      Did I read that right?
24             A.       I believe so.
25             Q.       Who was your treating physician, at this


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1         point, May 2012?
2              A.       It was Francoise Adan, who is a
3         University Hospitals psychiatrist.
4              Q.       Okay.
5                       How long had you been seeing that
6         psychiatrist?
7              A.       Approximately -- I can't remember
8         exactly, but it was the duration of fellowship and
9         even before that.          So probably three or four
10        years.
11             Q.       Okay.
12                      So we get the accomodation request.                Is
13        Exhibit 6, is that a correct statement of what
14        accommodations you were asking for?
15             A.       That is correct.
16             Q.       Okay.
17                      So when I look at it, it says -- I guess
18        I would say, are you saying just don't be graded
19        on that, that you would participate?                  Or don't be
20        graded on it and you're not going to
21        participate --
22             A.       I said I would participate.             Just don't
23        grade me on that.          And I offered to do other
24        things.       It's not part of this document, but I
25        offered to do other things in addition to that to


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1         make up for my lack of grading in that regard, so
2         they would have other opportunities to grade me.
3              Q.       Okay.
4                       MR. BEAN:        Let's take a break, Dave,
5         before we get into that.
6                       MR. CAMPBELL:            That's fine.
7                       (Recess taken.)
8                                  -     -   -     -     -
9                          (Thereupon, Deposition Exhibit 7,
10                         March 2012 Emails, was marked for
11                         purposes of identification.)
12                                 -     -   -     -     -
13             Q.       So you've been handed what's been marked
14        as Exhibit 7.          We looked through the dates, and it
15        looks like from that date -- this is right around
16        the time, March 22, 2012, when you were formally
17        asking for the accomodation, right?
18             A.       I believe so, yes.
19             Q.       And when we see from Naveen Uli, U-L-I,
20        that's the Dr. Uli you've been talking about,
21        right?
22             A.       It is.
23             Q.       And I see William Rebello, and that's
24        Mr. Rebello who is here today, right?
25             A.       Correct.


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1              Q.       And let me ask you, with Mr. Rebello, how
2         much contact did you have with Mr. Rebello?
3              A.       I'd say minimal.        I met him maybe two or
4         three times during the course of this incident.
5              Q.       Did you talk to him about the
6         accommodations?
7              A.       No, not about the accommodations.
8              Q.       What did you talk to him about?
9              A.       I complained to him -- I initially went
10        to graduate medical education about the
11        discrimination and abuse I was suffering in my
12        fellowship program.
13             Q.       Okay.
14                      When do you think that took place?
15             A.       Approximately, I would say the fall of
16        2011.
17             Q.       I guess, tell me then, what were you --
18        what was your complaint at that point?
19             A.       There were numerous.          Would you like me
20        to go through it all?
21             Q.       Yeah.
22             A.       Okay.
23                      So from the very beginning, I was treated
24        differently from the rest of the trainees in the
25        fellowship program.           I noticed that all the other


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1         fellows had their own clinic, and they would have
2         their clinic schedule at least a month in advance,
3         sometimes more.
4                       I was called sometimes with less than 24
5         hours' notice and sent to clinic.                This gave me
6         inadequate time to prepare and made it very
7         difficult to get my work done properly.
8                       In addition, I was denied a formal
9         orientation process at the start of my fellowship.
10        Whereas, all the other fellows were oriented
11        properly.       And that made it very difficult for me
12        to know what to do and to get it done
13        appropriately.
14                      I was also required to cover another
15        fellow's clinic if they were absent, which no
16        other fellow was required to do.                Once again,
17        caused difficulties with my schedule, made it hard
18        for me to plan, hard for me to get my work done.
19                      So I noticed I was having this disparate
20        treatment.       I didn't like it.          It was making my
21        anxiety worse, so I spoke to Dr. Uli about this
22        in, approximately, the late summer, early fall of
23        2010.
24                      And at that point, I told him about my
25        anxiety disorder and explained that this disparate


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1         treatment was unfair and was making my anxiety
2         worse.      That was when he told me that my anxiety
3         was nothing, I would just have to get over it.
4         And he proceeded to discriminate against me even
5         more and, instead of accommodating my disability,
6         he discriminated against me.
7                       He would, at that point, started accusing
8         me of having poor performance, even though he was
9         grading me on an arbitrary scale and much harsher
10        than the other fellows.            Then around that
11        wintertime, that would have been 2010 to 2011,
12        Dr. Narasimhan decided that I needed to come work
13        at her place and see her patients for her, which
14        no other fellow was required to do.
15                      Other fellows had their own patient load.
16        I was seeing an attending's patients, which was
17        totally different from everybody else.                  Not only
18        that, she expected me to work on my vacation.
19        She, in fact, called me at my house while I'm on
20        vacation and asked me why I wasn't seeing her
21        patients.
22                      When I explained to her that I was on
23        vacation, she proceeded to yell at me, berate me,
24        and tell me that I needed to be at clinic anyway.
25        She would also use this time to try and discredit


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1         me and embarrass me in front of the patients.
2                       The way the clinic should work is, I
3         would go into the room, I would see the patient,
4         come out of the room and discuss my plan with her,
5         and we would come up with a plan together and go
6         back in the room where I present the plan to the
7         patient.
8                       Even though she had approved the plan
9         outside of the room, she would tell me that I had
10        the plan wrong when I would explain it to the
11        patient in the room.           And she had a habit of
12        asking you a bunch of questions, completely
13        irrelevant to the patient, and then would not stop
14        asking questions until I got one wrong, and then
15        would proceed to yell at me in front of the
16        patient.       She also called me by my first name in
17        front of patients, whereas all the other fellows
18        were referred to as doctor when patients were
19        present.
20                      Another time she scheduled an
21        interdepartmental conference.               Not just the
22        endocrinology department, but other departments
23        were involved, as well, and told them that I would
24        be giving a formal presentation during that time.
25        However, she failed to tell me about that.


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1         Fortunately, somebody else mentioned the
2         presentation to me, otherwise I would have arrived
3         at the conference completely unprepared and would
4         have looked unprofessional and incompetent in
5         front of a huge audience.
6                       So by that spring, I became tired of this
7         and it was, once again, making my anxiety very
8         high.     So I went to Dr. Uli, on two separate
9         occasions that spring.
10             Q.       That spring would have been -- just so we
11        can put the year, that would have been 2011?
12             A.       2011, correct.
13             Q.       Okay.
14             A.       And so I told Dr. Uli about this and he
15        failed to do anything about it.                He told me people
16        have different personalities, and it was my job as
17        a fellow to deal with that.              And he continued to
18        treat me badly and discriminate against me.
19                      Specifically, he told me I wasn't working
20        on a research project, even though I had met with
21        him on multiple occasions to discuss my research.
22        He also, along with Dr. Gubitosi-Klug, tried to
23        force me into taking a helping role or an
24        assisting role with another fellow's research
25        project, instead of having my own.                 And this was


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1              Q.       -- like you just told me?
2              A.       Right.
3              Q.       What did Mr. Rebello do?
4              A.       He referred me to HR and then he also
5         referred me to the head of graduate medical
6         education.
7              Q.       And HR, you went and told them the same
8         things, and they told you they would investigate?
9              A.       Yeah.    They said, We don't investigate --
10        sorry.      We don't discriminate against anybody.
11        And are you sure this is happening to you?                    And,
12        obviously, this can't be happening, essentially.
13        And I don't know if any investigation ever took
14        place, but I know nothing ever changed at that
15        point.
16             Q.       You said you also went to the graduate
17        medical --
18             A.       Graduate medical education.
19             Q.       Okay.
20                      And that's how you got around to say,
21        Hey, let's ask for an accomodation?
22             A.       Not immediately.        The first time I met
23        with the head of the department, Dr. Jerry Shuck,
24        and he met with me and Dr. Uli, and he set forth
25        some plans and rules that Dr. Uli was to follow.


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1                       And Dr. Uli agreed to those in the
2         meeting, but refused to follow them afterwards.
3         And he continued to treat me badly and
4         discriminate against me.             And at that point, it
5         escalated his behavior in the Wednesday
6         conferences where he would -- and other
7         attendings, too, would interrupt my formal
8         presentations, try to discredit my work, and
9         overall just sabotage my performance.
10                      So at that point, I returned back -- by
11        that time, it was probably early spring, late
12        winter, early spring of 2012, went back to
13        graduate medical education and explained how this
14        was really making my anxiety spike up and I was
15        tired of being discriminated against, and this was
16        unacceptable.         And that was when Dr. Shuck told me
17        that I should apply for accommodations through HR.
18             Q.       Okay.
19                      So let me ask you with Mr. Rebello, it
20        sounds like, at the very least we can agree, he
21        sent you to HR?
22             A.       He did.
23             Q.       In order to formally present your
24        complaint of discrimination, right?
25             A.       Yes.


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1              A.       Sumana, S-U-M-A-N-A.
2              Q.       S-U-M-A-N-A?
3              A.       Yes.   Narasimhan, N-A-R-A-S-I-M-H-A-N.
4              Q.       So those two are tied for number one bad
5         guys?
6              A.       Yes.   And then close behind is Rose
7         Gubitosi-Klug.
8              Q.       Rose -- spell that.
9              A.       G-U-B-I-T-O-S-I, K-L-U-G.
10             Q.       Close behind.       Anybody else?
11             A.       There are other people who did minor
12        things here and there, but I think that would be
13        petty.      They influenced the rest of the department
14        to treat me badly, but I think those are the
15        instigators.
16             Q.       Did any of these three bad guys, did any
17        of them use any racial slurs?
18             A.       Slurs, no.      But insensitive language,
19        yes.
20             Q.       Well, I'll ask you at the end about any
21        of those things.
22                      Was there any racial slurs?
23             A.       No.
24             Q.       Was there anything as to -- aside from
25        you need to work through your anxiety.                  Was there


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1         any slurs, I guess, towards your --
2              A.       They didn't say work through it; they
3         said get over it.
4              Q.       Okay.
5                       Was there any slurs?
6              A.       No.
7              Q.       I guess, just in terms of any
8         inappropriate comments, and I understand that you
9         say, Hey, they asked you to do things that you
10        thought were maybe -- but any inappropriate
11        comments, tell me that.
12             A.       Inappropriate?       Yes.     One thing that he
13        told me -- Dr. Uli told me, that African American
14        people have wild, unruly hair.               Then, also, both
15        Dr. Uli and Dr. Gubitosi-Klug told me that not
16        having a research project, normally, isn't
17        something they do for fellows, but for people like
18        me it's appropriate.
19             Q.       Anything else?
20             A.       I'm sure there's more, but I don't
21        remember.
22             Q.       Dr. Uli, I guess, on the hair, how did
23        that come up in conversation?               I have to believe
24        there was some context to that.
25             A.       Yes.    There was a patient who, she was


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1         going through puberty a little bit too early and
2         estrogen products can sometimes do that.                   And so
3         Dr. Uli asked me the race of the child, and I said
4         she was African American.             And he said, Oh, well,
5         that's because African American people have such
6         wild, crazy, unruly hair, they use products that
7         have estrogen in them and that can sometimes cause
8         early puberty.
9              Q.       So he was giving, I guess, in an unartful
10        way, he was giving a reason for the puberty early,
11        right?
12             A.       Right.    However, that description was
13        completely unnecessary and inappropriate.
14             Q.       Well, I guess I would say, certainly the
15        description of saying maybe a cause for this early
16        puberty was certainly relevant, right?
17             A.       I don't see how unruly hair is cause for
18        -- is relevant, no.           The hair products -- he could
19        have simply said the hair products that tend to be
20        used in that community tend to cause puberty.
21             Q.       Okay.
22                      Well, if he would have said the hair
23        products typically used by African Americans, you
24        would be telling me that's inappropriate, as well,
25        right?


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                                                                         Page 124
1              A.       No.
2              Q.       Well, I guess I would say, I understand
3         -- what he, I guess, was ultimately getting at --
4         the meat of that was there was a medical reason
5         for the -- in his medical opinion, do you agree or
6         disagree with him that the early puberty was
7         caused by the hair product?
8              A.       It could very well have been.             I don't
9         know.
10             Q.       So you didn't have any medical reason to
11        say Dr. Uli was wrong --
12             A.       No.
13             Q.       He gave one of his reasonable opinions on
14        it, and you didn't necessarily disagree, right?
15             A.       I didn't disagree that the product could
16        have caused it.         I disagreed with his description
17        of the hair.
18             Q.       And I guess I would say, with that, if I
19        was an endocrinologist, I would probably ask to
20        have warnings on those hair products, right?
21        Because there could be negative side effects to
22        those hair products.
23             A.       I don't know.       That's not part of our job
24        description to talk to the FDA about labeling.
25             Q.       I understand.       But I guess I would say,


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1         not?
2              A.       It's indirect.       Not to evaluate your
3         performance in case conference.                I could be
4         evaluated, just not the unrehearsed part.
5              Q.       So then it goes into the -- based on this
6         letter, UH believes that's an essential function
7         of your position, do you agree?
8              A.       I disagree.      But, yes, according to this
9         letter, that's what they believe.
10             Q.       And then UH ultimately said, because this
11        is an essential function, you're saying you can't
12        do that essential function, we're going to put you
13        on a leave of absence?
14             A.       Correct.
15             Q.       And that's when we talk about, from July
16        1, 2012 on, you didn't have any contact with the
17        fellowship program?
18             A.       Nothing that I can remember.
19             Q.       Okay.
20                      Were you trying to return?            What was your
21        plan?     When they put you on the leave of absence
22        July 1, what was the plan?
23             A.       The plan was to try and return.
24             Q.       How so, though, is what I'm saying?                Was
25        it to try and return because you thought you could


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1         then start doing the unrehearsed?
2              A.       No.     To get my accommodations that were
3         due to me and to return to the fellowship program.
4              Q.       So it was really just simply saying, you
5         didn't expect that you were going to be able to do
6         the unrehearsed.             You wanted them to change it
7         through legal means, essentially, is what you
8         decided?
9              A.       I don't know about the legal means.                 But,
10        yes, I wanted them to give me the accommodations
11        that were appropriate for my condition, and I
12        wanted to return to the fellowship program.
13                                 -     -   -   -     -
14                            (Thereupon, Deposition Exhibit 9,
15                            June 22, 2012 Letter, was marked for
16                            purposes of identification.)
17                                 -     -   -   -     -
18             Q.       And it looks like, again, I know you
19        didn't ask for it, but it looks like they did put
20        you on a medical leave of absence or at least an
21        approved leave of absence.                  So if you were able to
22        return to the program, you would restart the
23        fellowship program, right?
24             A.       I don't know about that.
25             Q.       Well, you were on a leave, and at this


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1         point in time you had actually resigned to be out
2         of the program, right?
3              A.       No, I had not resigned at that point.
4              Q.       I mean, obviously, when you resigned that
5         meant something.          You were still part of the
6         program in July 2012, even though you weren't an
7         active participant, right?
8              A.       Okay.
9              Q.       Right?
10             A.       I assume so.       I don't know.
11             Q.       Obviously, they gave you an approved
12        leave of absence.          It wasn't like they said, We're
13        terminating you and we can't accommodate you and
14        we're terminating you.
15                      They said, We're going to put you on
16        leave, and as you said, you were going to continue
17        to try to see if you could get those
18        accommodations -- I guess, get the accommodations
19        you requested or somehow something changed, right?
20             A.       Correct.     Although, this does not state
21        that the leave of absence was approved.                   This is
22        telling me the steps I have to do to get this
23        leave of absence, which I did not do since I
24        didn't request the leave of absence.
25             Q.       Oh, you didn't follow through and do any


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1         of that?
2              A.       No, because I did not want a leave of
3         absence.       I did not have any reason to be taking a
4         medical leave of absence.             I needed my
5         accommodations and to continue with my education.
6              Q.       Did you expect that they terminated you?
7         Or what was the expectation in response to that?
8              A.       No, at the time I had an attorney in
9         discussions with them to try and get them to come
10        to an agreement.
11             Q.       I don't know about the attorney.               But you
12        decided that you weren't going to do what they
13        requested for the leave?
14             A.       Yes.    I was instructed not to.
15             Q.       Okay.
16                      I don't want to know --
17                      MR. BEAN:     I mean, it was -- I think it
18        was Mr. Erwin.
19             Q.       I don't want to know --
20                      MR. BEAN:     Yeah.     Don't talk about any
21        instructions you were given or anything else.
22                      THE WITNESS:       Okay.
23                      MR. BEAN:     Tell him that you can't answer
24        that.
25                      THE WITNESS:       Okay.


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1         stuff post, and wrap up with that?
2                       MR. BEAN:       I'll do whatever everyone else
3         wants to do.
4                       THE WITNESS:        I'm fine with either.
5                       MR. BEAN:       I mean, is this a natural
6         breaking point?
7                       MR. CAMPBELL:           I would think now is
8         probably the time to take -- if we're going to
9         take a lunch break, I'd say now.
10                      (Recess taken.)
11             Q.       So when we left, we were going to talk
12        about performance.            I guess, you had the break.
13                      Is there anything you want to add, or
14        anything else, or are we all set to go?
15             A.       Not that I can think of at this time.
16             Q.       Thanks.
17                                -     -   -     -     -
18                         (Thereupon, Deposition Exhibit 11,
19                         Remediation Plan For Alison
20                         Matthews, was marked for purposes of
21                         identification.)
22                                -     -   -     -     -
23             Q.       So I've handed you what's been marked as
24        Exhibit 11.        I think this is one of the documents
25        you provided.


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1              A.       It looks like it is, yes.
2              Q.       And I saw it, it was also -- without the
3         handwriting, it was something we provided to you.
4         And it looked like, on this left-hand column, did
5         you keep a notebook?           Or how were these kept?            Was
6         that by you or --
7              A.       Yes, I kept a notebook.
8              Q.       Is this you or your counsel?             Is this
9         something that you kept?
10             A.       Well, I made it and provided it to
11        counsel.
12             Q.       What did you do, like, keep a notebook of
13        all the documents or all the performance
14        documents?       Or what did you do?
15             A.       I kept a notebook of everything I could
16        -- once I saw things weren't going well, I kept
17        everything that I remembered to.
18             Q.       It looks to me that this was given to you
19        in June 2011.
20             A.       Yes.
21             Q.       Well, I see that first sentence, "I met
22        with Alison Matthews on June 29, 2011."
23             A.       Although, Dr. Uli does have a habit of
24        making documents prior to the fact and putting
25        dates on them.         So I don't know if it was actually


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1                       So now we're going into evaluation two.
2         This is Michaela Koontz is the evaluator.                    And the
3         first one, I'm not certain who that first
4         evaluator was.         It looks like an N. W something.
5                       Do you know who that first evaluator was?
6              A.       I don't know.
7              Q.       The second one is Dr. Koontz.             And we're
8         looking at Dr. Koontz.            Did you have problems with
9         Dr. Koontz?
10             A.       Dr. Koontz just didn't know me very well.
11        I might have worked with her on one occasion for a
12        couple hours.
13             Q.       So if we look at the first patient care,
14        it looks like we're 50 to 75 percent of the time.
15                      Do you think that that is where your
16        other fellows were falling, 50 to 75 percent of
17        the time?
18             A.       I don't know.
19             Q.       You don't know.        I thought you knew
20        everything about what the other fellows were
21        doing.
22             A.       I know what was being treated fairly and
23        unfairly.       I know where I was being treated
24        differently.
25             Q.       Let's look at medical knowledge.               Next


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1         page of Dr. Koontz.           And if we look at medical
2         knowledge, Dr. Koontz has a number of very
3         negative evaluations, correct?
4              A.       It appears so, yes.
5              Q.       And practice-based learning, very
6         negative.       And then again, though, it's somewhat
7         surprising, interpersonal communication skills are
8         your highest area.
9                       Did I read that right?
10             A.       That's what that says right there.
11             Q.       So it would seem that, certainly, your
12        meeting in the group discussions, at this point,
13        did not appear to be the key concern?
14             A.       These weren't based on group discussions,
15        however.
16             Q.       Well, interpersonal skills, if you had
17        anxiety and weren't able to do it, I think there
18        would be some issues there.
19                      The next one is Teresa Zimmerman.               With
20        Zimmerman, it looks like -- did you work a lot
21        with Zimmerman or no?
22             A.       I worked a fair amount.           I wouldn't say a
23        lot.
24             Q.       She's unable to evaluate a number of
25        things, but she does give you, probably, your


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1         highest marks on Page 1.             She has some additional
2         comments on Page 2, which I think are out of
3         order.      But if you look at Page 3, she has a few,
4         again, medical knowledge, there's a few areas that
5         are very low.        Practice-based learning are very
6         low.
7                       And then if you look at it, again,
8         interpersonal communication skills, which I would
9         expect, if they were discriminating against you
10        based on your disability, would be zero, zero,
11        zeros.
12                      But these are all fairly high, right?
13             A.       They appear to be high.           However, these
14        aren't based on the conferences.                This is based on
15        my ability to work with patients, and I can
16        discuss with a patient and go through their charts
17        very well.
18             Q.       Well, I would think that if there was
19        anything here about you being in those meetings
20        and that was the issue that they were marking you
21        down on, that's where it would be.
22             A.       No, because if you read it, it says,
23        "Communicates effectively with patients and
24        families."       Then it says something about medical
25        records.       This is all about patient care.               This


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1              A.       They believed many things because I
2         wasn't speaking up in the meetings.
3              Q.       Well, I guess, when I look at this, were
4         you satisfied with your evaluations or
5         dissatisfied?
6              A.       I was dissatisfied.
7              Q.       So can we agree that the evaluation --
8         most certainly -- I guess, let's put yourself in
9         Dr. Uli's shoes.          If he sees this, do you think it
10        would be appropriate for him, if the faculty are
11        reporting these -- and presumably, he's worked
12        with the faculty, many of these members, many
13        years.      They've evaluated many fellows over many
14        different years.
15                      Do you think that it was appropriate that
16        he sat down with you and tried to say, Here's a
17        plan to improve for the next year's evaluation?
18             A.       I would say it would have been
19        appropriate had he not been the primary one
20        discriminating against me this entire time.
21                      By this time, I had informed him of my
22        disability, and he was the one who told me to get
23        over it.       He was also the one who I came to when
24        Dr. Narasimhan was making me do clerical work, see
25        her patients, despite the fact that nobody else


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1         had to.       And would make me look foolish in front
2         of patients by calling me by my first name in
3         front of them.
4                       And she would ask me various irrelevant
5         questions in front of the patients with the sole
6         purpose of embarrassing me.              She would schedule
7         conferences and not tell me about them until the
8         last minute, and then have me give a presentation
9         so I could look bad.           So, no, I don't think this
10        was appropriate.
11             Q.       You don't think it was appropriate.                And
12        I guess I would say, it looks to me, from Exhibit
13        12, that the performance deficiencies that the
14        faculty were giving -- and not just one, but
15        several faculty members, and I've asked you about
16        the evil people, and you told me there was three.
17        There were a variety of faculty members, looks
18        like they had performance issues that were
19        broad-based.
20             A.       And as I told you, my anxiety definitely
21        contributed to my performance.               I'm sure I would
22        have done much better had my disorder been
23        accommodated appropriately.
24                      However, I had to not only deal with my
25        disability, I had to deal with the fact that I was


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1         being discriminated against within the program,
2         treated poorly, and, frankly, abused by many of
3         the faculty members.              So that affected my
4         performance, as well.
5              Q.       That did.       Okay.
6                       So I take it from all of that, you do, at
7         least, admit that your performance was down, but
8         you blame it on other factors --
9              A.       I don't think it was as down as the
10        grading -- these are arbitrary grades.                     But I
11        think I could have done better had I been at a
12        more supportive environment, that treated me
13        fairly and equitably to my peers.
14                                -     -    -   -     -
15                         (Thereupon, Deposition Exhibit 13,
16                         Performance Alert Notice, was marked
17                         for purposes of identification.)
18                                -     -    -   -     -
19             Q.       Exhibit 13 looks like -- and you're
20        welcome to look through it.                  But this one looks
21        like it was given to you just before your
22        accomodation request.              February 29, 2012.
23             A.       I don't believe that was the date.                   But,
24        yes, it was given to me.
25             Q.       Well, do you agree it was in 2012?


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1              A.       Yes.
2              Q.       Okay.
3                       And from the -- if we look at the --
4         start on the back page.            It looks like this is
5         Dr. Uli's writing?
6              A.       It is.
7              Q.       And it says, in the second paragraph, I
8         believe it reads, "After reviewing its contents,
9         Dr. Matthews refused to sign it."
10                      Do you agree with that?
11             A.       I do.
12             Q.       "She stated that she would consider a
13        six-month extension of her fellowship but refused
14        extension for 12 months."
15                      Did I read that right?
16             A.       Yes.
17             Q.       So Dr. Uli, at the end of this, is
18        saying, We, as a faculty -- I guess, correct me if
19        I'm wrong.          We, as a faculty, see that there's
20        some deficiencies or performance areas that we
21        think could improve if we extend your fellowship.
22             A.       That's what he said.
23             Q.       Did you agree to extend it by six months?
24             A.       No.     I said I could possibly, if they can
25        show me objective measures of deficiency, and they


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1         a fellow, and you always could do that, right?                      I
2         mean, you could go make more money than $50,000 at
3         any point in this fellowship program, right?
4              A.       I could have.       However, I wanted to be an
5         endocrinologist and I was doing my job.                   If I was
6         truly not doing what I was supposed to be doing, I
7         would have had no problem rectifying that.                    And I
8         was making efforts to improve because everybody
9         has room for improvement.             However, I was not
10        nearly as terrible as they were saying, and they
11        were holding me to a much different standard than
12        my peers.
13             Q.       Well, you agree that this document, when
14        I look at it, and even at the end, they're saying,
15        "obtain certification in general pediatrics."
16             A.       Yes.     However, another fellow failed her
17        boards exam, and they didn't say a word to her
18        about that.          But just because I haven't sat for it
19        yet was the reason that they were coming after me.
20             Q.       Okay.
21                      Could it be that they're looking at this
22        and they're saying, Dr. Matthews is having serious
23        issues.       And Dr. Matthews, we may do all this work
24        for Dr. Matthews and try to get her to the point,
25        and she won't even pass her boards.


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1              A.       Well, shortly thereafter I was forced out
2         of the program, so I didn't have the opportunity
3         to follow them had I wanted to or not.
4              Q.       Were you planning on following them?
5              A.       I hadn't looked at them closely.                  I
6         hadn't decided yet.               I mean, obviously, I wanted
7         to do as best as I could, so chances are I
8         probably would have, but I don't know.                       I didn't
9         have the opportunity to decide one way or the
10        other.
11             Q.       And you think that the one accomodation
12        that you were speaking, was going to cure all of
13        those deficiencies that they said.
14                      Is that your view?
15             A.       Not cure them.            But, first of all, I
16        disagree that all of those deficiencies was the
17        way they were.         But, yes, I think I would have
18        improved much better.               And if they had stopped
19        harassing and discriminating against me, I would
20        have had the opportunity to learn in a fair
21        environment and I would have flourished.
22             Q.       Okay.
23                                -     -     -    -     -
24                         (Thereupon, Deposition Exhibit 14,
25                         Summary of Group/Fellow Evaluations,


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1                          was marked for purposes of
2                          identification.)
3                                 -     -     -   -     -
4              Q.       You've been handed what's been marked as
5         Exhibit 14.        This one looks like it's a summary of
6         evaluations.        And try to go through and identify
7         the group in comparison to you on many of these
8         things.
9                       So this actually gives you what the group
10        was doing.       I guess it's going through all of your
11        interpersonal, group is average score of all --
12        fellows represented average score of all -- so
13        it's going through and giving you your performance
14        in relation to your peers, right?
15             A.       That's what the document appears, but I
16        don't know for sure.
17             Q.       You don't know for sure.
18                      Did you think that your performance was
19        good or bad or did you just --
20             A.       Well, I think my performance, based on
21        these scales, couldn't be probably evaluated.                       I
22        thought I was a competent physician, and I did the
23        best of my ability.               But I don't think these
24        grades represent any of that because I was being
25        graded by people who were actively discriminating


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1         against me.
2                       Furthermore, the testing is being -- the
3         results of the tests are muddled by my disability,
4         which has not been accommodated for.                  So once
5         again, these aren't really compliant with the ADA.
6              Q.       Okay.
7                       So can we agree that based upon the
8         percentages that have been put here, that you're
9         below the group on almost every one, if not every
10        one?
11             A.       That's what this looks like.
12             Q.       And if we get into the comment section,
13        there's a few positives, but a lot of them are --
14        like, medical knowledge, there's a number of
15        negatives on medical knowledge.                I mean,
16        explanation, you have two out of five on medical
17        knowledge, it looks like.             Many, many of these,
18        right?
19             A.       That's what it looks like.
20             Q.       And one of them, for example, "Speak up.
21        We don't know what you are thinking if you don't
22        share your differentials.             This is improving in
23        one-on-one meetings."
24                      Did you agree or disagree with that?
25             A.       Yes.    Because as I mentioned, my anxiety


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1              Q.       -- a number of times throughout your
2         employment?
3              A.       I did.
4              Q.       Okay.
5                       Early, often, and everything in between,
6         right?
7              A.       Correct.
8              Q.       So now let's talk about your charge.                And
9         the second paragraph there, in the particulars,
10        and this one says you complained, first of all, in
11        November of 2010, is that about right?
12             A.       That's approximately correct, yes.
13             Q.       May have been earlier?
14             A.       May have been earlier.           But it was in the
15        fall of 2010.
16             Q.       And then from there, there's lots of
17        complaints, right?
18             A.       Yes.
19             Q.       And it says here, "The other staff
20        doctors" -- when you say other staff doctors, are
21        you talking about the other five fellows?
22             A.       Let me see.      What paragraph are you
23        referring to, please?
24             Q.       It says, "Held to different standard by
25        staff doctors than white, Indian, and Asian


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1              A.       Correct.
2              Q.       And then you said you applied for this
3         other position at another department.                  "I was
4         asked by Marci Manson to resign."                I mean,
5         obviously -- I guess, let me ask you, I mean, you
6         understood that as the fellow if, for example --
7         let's say you're on a different type of leave --
8         you definitely could not be full-time at some
9         other position and be a fellow, right?                  I mean,
10        you had to be a fellow full-time?
11             A.       Not necessarily, I wasn't acting as a
12        fellow at the time.
13             Q.       I understand.       But you told me that you
14        wanted to come back.           So if you were actively
15        working to be a fellow, it's pretty difficult to
16        be full-time in something else?
17             A.       However, at that time, it wasn't looking
18        very promising that I was going to get back.                     I
19        did need employment.           I couldn't be unemployed for
20        an extended period of time, so I had to look for
21        other options.
22             Q.       Well, I guess what I'm saying is, it
23        certainly doesn't seem to me to be unreasonable to
24        say you need to make a decision.                If you're going
25        to go work full-time somewhere, you can do that,


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1         it's just you can't be in the fellow program,
2         taking up a spot, and working full-time somewhere
3         else.
4              A.       Okay.
5              Q.       Right?
6              A.       That's correct.
7              Q.       So you made the decision, you said, I
8         need another job and I'm going to go get that job,
9         and I'll resign to go get a full-time job.
10             A.       No.     What happened was I started looking
11        at jobs to see -- basically weigh my options.
12        Ideally, I was going to get back into the
13        fellowship program, but since that wasn't looking
14        very promising, I had to look for other options to
15        support myself and my family.
16             Q.       Okay.
17                      But you made the decision, I'd rather
18        work at Ohio Health, UH, or someplace full-time
19        than to continue to wait to get back into the
20        fellow program?
21             A.       No, because I didn't have any money
22        coming in.          I had to do something.         And since I
23        couldn't get back into the program, I was
24        essentially forced to find another job.
25             Q.       Okay.


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1         right?
2              A.       Correct.
3              Q.       Everybody had to?
4              A.       Yes.    Although, they made mine different
5         from everyone else's.            But, yes, standards should
6         be met in the program.
7                       MR. CAMPBELL:       Let's take a short break.
8         I think we're just about done here.
9                       (Recess taken.)
10             Q.       Okay.
11                      Let me just ask you a couple final
12        questions on this.          The witnesses -- your other
13        fellows, anybody else?
14             A.       Not that I know of at the time.
15             Q.       And if we talk about your -- just to
16        verify, from early 2013, you've been working
17        full-time, right?
18             A.       I believe so, yes.
19             Q.       And most certainly, if the fellowship
20        would have been extended by six months, or by
21        whatever amount of time, you earned more leaving
22        the fellowship program at Ohio Health than you
23        would have in the fellowship program, at least for
24        that period of time, right?
25             A.       I believe so, but I don't know off the


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